Case 1:23-cr-00061-MN Document 167 Filed 05/22/24 Page 1 of 5 PageID #: 3638




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 UNITED STATES OF AMERICA                          )
                                                   )
        v.                                         )    Criminal Action No. 1:23-cr-61-MN

 ROBERT HUNTER BIDEN,

                                   Defendant.
                                                   l ~GAE
                                                   )


  ~MOTION REQUESTING SEALED ORDER COMPELLING TESTIMONY
    PURSUANT TO TITLE 18, UNITED STATES CODE, SECTIONS 6001-6003

        NOW COMES the United States of America, by and through its attorneys, David C. Weiss,

 Special Counsel, and undersigned counsel, and hereby respectfully moves this Court to issue an

 Order pursuant to the provisions of Title 18, United States Code, Section 6001, et seq. compelling

 Hallie Biden to give testimony and provide other information, which she refuses to give or provide

 on the basis of her privilege against self-incrimination, as to all matters about which she may be

 interrogated at the trial in United States v. Robert Hunter Eiden, 23-61 (D. Del.) (the Hon.

 Maryellen Noreika presiding), and any further proceedings resulting therefrom or proceedings

 ancillary thereto. In support of this request, the United States submits the following:

         1.     This Court previously issued an Order compelling the testimony of Hallie Biden

 which stated, in relevant part:

               NOW THEREFORE, IT IS ORDERED pursuant to Title 18, United States
        Code, Section 6002:

        1.     That the witness, Hallie Biden, give testimony or provide other information
        which she refuses to give or provide on the basis of her privilege against self-
        incrimination as to all matters about which she may be interrogated before said
        grand jury relating to possible violations of Title 26, United States Code, Sections
        7201, 7203, and 7206, Title 22, United States Code, Section 611, et seq., and Title
        18, United States Code, Sections 922 and 924.

        2.      That no testimony or other information compelled under this Order, or any
Case 1:23-cr-00061-MN Document 167 Filed 05/22/24 Page 2 of 5 PageID #: 3639




        information directly or indirectly derived from such testimony or other information,
        may be used against said witness in any criminal case, in any court, except a
        prosecution for perjury, giving a false statement, or otherwise failing to comply
        with this order.


See In Re: Grand Jury Proceedings, Misc. Action No. 22-181 (Order dated April 18, 2022 attached

as Exhibit 1).

        2.       Hallie Biden testified before a grand jury in the District of Delaware on April 19,

2022.

        3.       On April 11, 2024, undersigned counsel spoke with counsel for Hallie Biden, Mike

Ferrera, Esq., and advised that she would be called as a witness at trial in United States v. Robert

Hunter Biden, 23-61 (D. Del.). Mr. Ferrera agreed to accept service of a trial subpoena. On May

16, 2024, undersigned counsel spoke with Mr. Ferrera who advised that it was his view that the

Court’s prior immunity order may not cover testimony in the forthcoming trial. Mr. Ferrera further

advised that his client, Hallie Biden, would therefore invoke and refuse to testify or provide other

information on the basis of her privilege against self-incrimination absent another court order.

        4.       It is the judgment of the undersigned, the testimony and information Hallie Biden

will provide at trial is necessary to the public interest.

        5.       This application is made with the approval of Acting Deputy Assistant Attorney

General Stuart M. Goldberg, Tax Division, U.S. Department of Justice, pursuant to the authority

vested in him by Title 18, United States Code, Section 6003 and 28 C.F.R. 0.175. A copy of the

authorization from said Deputy Assistant Attorney General is attached hereto as Exhibit 2. It is

the position of the United States Department of Justice that this authorization covers any necessary

application for statutory immunity in the upcoming trial of United States v. Robert Hunter Biden,

23-61 (D. Del.) because the authorization is also for “any further proceedings resulting therefrom



                                                    2
Case 1:23-cr-00061-MN Document 167 Filed 05/22/24 Page 3 of 5 PageID #: 3640




or ancillary thereto,” and the trial resulted from the investigation by the District of Delaware grand

jury identified in Exhibit 2. Accordingly, no further Department of Justice authorization is required

for the Special Counsel to apply to this Court for an immunity order.

       The government respectfully requests that the Court enter the attached order.



                                                Respectfully submitted,

                                                DAVID C. WEISS
                                                SPECIAL COUNSEL

                                          By:

                                                ________________________________
                                                Derek E. Hines
                                                Senior Assistant Special Counsel

                                                Leo J. Wise
                                                Principal Senior Assistant Special Counsel

                                                U.S. Department of Justice




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Case 1:23-cr-00061-MN Document 167 Filed 05/22/24 Page 4 of 5 PageID #: 3641




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA                          )
                                                  )
        v.                                        )      Criminal Action No. 1:23-cr-61-MN
                                                  )
ROBERT HUNTER BIDEN,                              )       UNDER SEAL
                                                  )
                               Defendant.         )

 SEALED ORDER COMPELLING TESTIMONY PURSUANT TO TITLE 18, UNITED
                 STATES CODE, SECTION 6001-6003

        On Motion of Special Counsel David C. Weiss, requesting that the Court issue an Order

pursuant to the provisions of Title 18, United States Code, Section 6001, et seq., compelling

testimony or other information; and it appearing to the satisfaction of the Court that:

        1.      Hallie Biden has been called to testify or provide information at the trial of United

States v. Robert Hunter Biden, 23-61 (D. Del.) and, in any further proceedings resulting

therefrom or ancillary thereto.

        2.      Hallie Biden has refused to testify or provide other information on the basis of her

privilege against self-incrimination.

        3.      In the judgment of the Special Counsel, the testimony or other information from

said witness may be necessary to the public interest.

        4.      The aforesaid Motion has been made with the approval of Acting Deputy

Assistant Attorney General Stuart M. Goldberg, Tax Division, U.S. Department of Justice,

pursuant to the authority vested in him by Title 18, United States Code, Section 6003 and 28

C.F.R. 0.175.

        NOW THEREFORE, IT IS ORDERED pursuant to Title 18, United States Code, Section

6002:

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Case 1:23-cr-00061-MN Document 167 Filed 05/22/24 Page 5 of 5 PageID #: 3642




       1.       That the witness, Hallie Biden, give testimony or provide other information which

she refuses to give or provide on the basis of her privilege against self-incrimination as to all

matters about which she may be interrogated during the trial of United States v. Robert Hunter

Biden, 23-61 (D. Del.) and, in any further proceedings resulting therefrom or ancillary thereto.

       2.       That no testimony or other information compelled under this Order, or any

information directly or indirectly derived from such testimony or other information, may be used

against said witness in any criminal case, in any court, except a prosecution for perjury, giving a

false statement, or otherwise failing to comply with this order.

       3.       This order shall be sealed pending further order of the court.



                                               BY THE COURT:


                                               ___________________________________
                                               HONORABLE MARYELLEN NOREIKA
                                               UNITED STATES DISTRICT JUDGE


       Dated:




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